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UNITED STATES DISTRICT COURT                                      :I[) A'tj'!: ::~·;,--: .')· -•\-·D\·l··lO···~:;;i-::,·~-;::<
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SOUTHERN DISTRICT OF NEW YORK                                      J   ••
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JENNY MARIE PLAZA,
                                   Plaintiff,                                        19     CIVIL 3853 (DF)

                 -against-                                                                JUDGMENT

COMMISSIONER OF SOCIAL SECURITY,
                    Defendant.
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        It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

set forth in the Court's Memorandum and Order dated October 16, 2020, Plaintiffs motion for

judgment on the pleadings is granted to the extent it seeks remand for administrative

proceedings, and Defendant's cross-motion for judgment on the pleadings is denied. This case is

hereby remanded for further proceedings, pursuant to sentence four of 42 U.S.C. § 405(g). Upon

remand, the ALJ is directed: (1) to reassess any objective medical that the ALJ mischaracterized

in his decision as "normal or mild" (particularly the June 2016 MRI and the July 2016 X-ray of

Plaintiffs lumbar spine) and to reconsider the weight to be assigned to the medical opinions of

Plaintiffs treating physician, Dr. Delaney, in light of that reassessment after seeking clarification

from Dr. Delaney, if necessary, regarding any inconsistencies that the ALJ may still find

between Dr. Delaney's stated opinions and the medical evidence upon which Dr. Delaney relied

to support his opinions; (2) to state good reasons for any decision to assign less than controlling

weight to Dr. Delaney's medical opinions, and to reweigh the opinion evidence overall, in light

of any new weight assigned to Dr. Delaney's opinions; (3) to re-evaluate Plaintiffs subjective

complaints regarding her symptoms, in light of the complete medical record and in accordance

with the factors set out in 20 C.F.R. § 404.1529(c)(3)(i)-(vii), with particular focus on Plaintiffs
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complaints of drowsiness and lack of concentration as potential side effects of her medication,

and to set out his reasoning as to the extent of any functional limitations resulting from such

symptoms; and (6) to reconsider Plaintiffs RFC, consistent with all of the above, and to re-

evaluate whether the Commissioner has met his burden of demonstrating that Plaintiffs RFC

during the relevant period was not significantly diminished by her non-exertional limitations. If

the ALJ finds that Plaintiffs functional abilities have been significantly diminished, then, upon

remand, the Commissioner should present the testimony of a vocational expert concerning the

existence of jobs in the national economy for an individual with Plaintiffs combination of

exertional and non-exertional limitations.

Dated: New York, New York
       October 16, 2020



                                                                RUBY J. KRAJICK

                                                                    Clerk of Court
                                                     BY:

                                                                ~   Deputy Cler
